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 5
     Attorney for Defendant,
 6   TANEKA NUNLEY

 7
                               IN THE UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                          CASE NO. CR. S-08-65-LKK

11              Plaintiff,                              STIPULATION AND ORDER

12        vs.                                           DATE: May 30, 2012
                                                        TIME: 9:15 AM
13   TANEKA NUNLEY,                                     JUDGE: Hon. Lawrence Karlton

14              Defendant.

15

16          It is hereby stipulated and agreed to between the United States of America through Todd

17   Leras, Assistant U.S. Attorney, and defendant Taneka Raenee Nunley, by and through her

18   attorney, Dan Koukol, that the status conference of May 30, 2012 be vacated and that a status

19   conference be set for July 10, 2012 at 9:15 AM.

20          This continuance is being requested because the parties have engaged in extensive

21   negotiations over the terms of a final plea agreement. The government has recently adopted

22   several terms suggested by defense counsel into a revised plea agreement. Defense counsel needs

23   additional time to review these changes and discuss them with his client.

24          Counsel agree that the time between the signing of the requested order and June 27, 2012

25   will be excluded from the speedy trial calculation pursuant to 18 U.S.C. §3161(h)(7)(A) and (B)
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 1   (Local Code T4) in that the defendants’ and the public’s interest in a speedy trial are outweighed

 2   by the interests of justice in permitting counsel adequate time to prepare.

 3
     DATED: MAY 24, 2012                   Respectfully submitted,
 4

 5                                         /s/ DAN KOUKOL
                                           _________________________________
 6                                         DAN KOUKOL
                                           Attorney for defendant Taneka Nunley
 7

 8
     DATED: MAY 24, 2012                   Respectfully submitted,
 9

10                                         /s/ DAN KOUKOL FOR TODD LERAS
                                           _________________________________
11                                         Todd Leras
                                           Assistant U.S. Attorney
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13          IT IS SO ORDERED, that the status conference in the above-entitled matter, scheduled

14   for May 30, 2012, be vacated and the matter continued to July 10, 2012 at 9:15 AM for further

15   status conference. The Court finds that time under the Speedy Trial Act shall be excluded

16   through that date in order to afford counsel reasonable time to prepare. Based on the parties’

17   representations, the Court finds that the ends of justice served by granting a continuance

18   outweigh the best interests of the public and the defendants to a speedy trial.

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     DATED: May 29, 2012
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